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                      IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE DISTRICT OF SOUTH CAROLINA

In re:
                                                 Chapter 7
Janice Anita Doyle
                                                 Case No. 14-05916-dd
                     Debtor.


                         TRUSTEE'S REPORT OF UNCLAIMED DIVIDENDS

        Janet B. Haigler, Trustee in the above-captioned case hereby submits check number 114 in
the amount of $29,295.27, representing monies designated as exempted funds and excess proceeds
due the deceased debtor, Janice Anita Doyle. Pursuant to the Trustee’s Notice of Declaration and
Payment of Funds Due Deceased Debtor filed on September 29, 2016 (Docket #30), the Trustee
submits these funds to the Court. The unclaimed funds being submitted to the Court are as
follows:

 Creditor/Debtor               Claim    Failure to        Returned   BR 3010           Amount
                               Number   Clear             Mail
 Janice Anita Doyle                     Debtor is                                   $29,295.27
 Deceased                               Deceased. No
 No known probate estate                known
                                        probate estate.
 Total                                                                              $29,295.27

                                            /s/ Janet B. Haigler
                                            Janet B. Haigler
                                            CHAPTER 7 TRUSTEE
                                            Post Office Box 505
                                            Chapin, South Carolina 29036
                                            (803) 261-9806
                                            District Court I.D. No.: 5708


October 28, 2016
